                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF LOUISIANA

In re: Vioxx                                     *  MDL Docket No. 1657
                                                 *
PRODUCTS LIABILITY                               *  SECTION L
LITIGATION                                       *
                                                 *  JUDGE FALLON
This document relates to the plaintiffs          *
listed on Exhibit A                              *  MAGISTRATE JUDGE
                                                 *  KNOWLES
******************************************************************************
             DEFENDANT MERCK & CO., INC.’S REPLY MEMORANDUM
               IN FURTHER SUPPORT OF THE RULE TO SHOW CAUSE
          WHY CASES SHOULD NOT BE DISMISSED WITHOUT PREJUDICE
                              FOR FAILURE TO PROSECUTE

                   Defendant Merck & Co., Inc. (“Merck”), through its undersigned counsel,

respectfully submits this Reply Memorandum in further support of the Rule requiring plaintiffs

to show cause why their individual claims should not be dismissed without prejudice for failure

to prosecute.

I.       The Court Should Dismiss the Claims of Plaintiffs Who Do Not Oppose Dismissal.

                   The plaintiffs listed on Exhibit A to this Reply Memorandum have not opposed

dismissal. Merck therefore respectfully requests that the Court dismiss their claims.

II.      Plaintiffs Represented By Cellino & Barnes With Alleged Changed Status.

                   The Cellino & Barnes firm does not oppose dismissal except with respect to the

thirteen (13) plaintiffs listed on Exhibit B.1 Counsel represents that their “status has changed, ”

suggesting that they have now been located. (Cellino & Barnes Supplemental Opposition at 2.)



1
 Cellino & Barnes list 14 (fourteen) plaintiffs on their Supplemental Opposition brief, but have
sent in a release for Michael Stewart (06cv02202). Therefore, Merck withdraws its motion as to
Michael Stewart.



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However, the most current information that the Claims Administrator has provided for these

plaintiffs is that they are still non-responsive.

                   The Court has emphasized that efforts should be made to inform all eligible

plaintiffs regarding their need to make a decision concerning the settlement program before

enrollment closes in just a few short weeks. In light of the fact that these fourteen plaintiffs are

among those eligible for the program, Merck submits that the motions to dismiss as to these

plaintiffs should be deferred, and that these plaintiffs should be included among those required to

appear at the conferences with the Court on October 17, 20 or 21. If plaintiffs fail to appear,

Merck will request that action on its motion to dismiss be taken at that time.

                   As for the remainder of Cellino & Barnes’ clients, set forth on Exhibit C hereto,

counsel does not oppose dismissal, but requests that the terms of the order of dismissal be

pursuant to “Local Rule 41.3W”. The cited rule is a local rule of the Western District of

Louisiana, not of this Court. Nevertheless, Merck does not object to the Court entering an order

of dismissal either (a) dismissing the cases without prejudice, with the Order allowing

reinstatement of the civil action within 30 days for good cause shown (see Local Rule in Western

District, 41.3W) or (b) deferring hearing on Merck’s Motion to Dismiss until October 31 or a

date set by the Court soon thereafter.

III.     The Court Should Dismiss the Claim of Jennifer Catalfamo (07-CV-09135)
         and John Mikel (05-CV-05164).

                   Counsel for Ms. Catalfamo and Mr. Mikel acknowledge that, despite their diligent

efforts to contact them, their clients Jennifer Catalfamo and John Mikel have not been

responsive. Counsel asks, however, the Court to delay dismissing these cases until October 30.

Accordingly, Merck respectfully requests that the Court enter Order either (a) dismissing the

cases without prejudice with the Order allowing reinstatement of the civil action within 30 days


                                                    -2-
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for good cause shown (see Local Rule in Western District, 41.3W) or (b) deferring hearing on

Merck’s Motion to Dismiss until October 31 or a date set by the Court soon thereafter.

IV.      The Court Should Dismiss the Claims of the Plaintiffs
         Represented By Lopez McHugh.

                   The Lopez McHugh firm asks the Court not to dismiss the claims of its

unresponsive clients until October 30. Accordingly, Merck respectfully requests that the Court

enter an Order either (a) dismissing the cases without prejudice with the Order allowing

reinstatement of the civil action within 30 days for good cause shown (see Local Rule in Western

District, 41.3W) or (b) deferring hearing on Merck’s Motion to Dismiss until October 31 or a

date set by the Court soon thereafter.

V.       The Court Should Dismiss the Claim of Paulina Maldonado Rodriguez
         (05-CV-04589).

                   Counsel for Ms. Rodriguez also requests the Court to dismiss the case under

“Local Rule 41.3W”. Accordingly, Merck respectfully requests that the Court enter an Order

either (a) dismissing case without prejudice with the Order allowing reinstatement of the civil

action within 30 days for good cause shown (see Local Rule in Western District, 41.3W) or (b)

deferring hearing on Merck’s Motion to Dismiss until October 31 or a date set by the Court soon

thereafter.

VI.      The Court Should Dismiss the Claim of Mary Coonfield (06-CV-10260).

                   Counsel for Ms. Coonfield requests the Court to defer dismissal of the case until

October 30 and then to dismiss the case under “Local Rule 41.3W”. Accordingly, Merck

respectfully requests that the Court enter an Order either (a) dismissing case without prejudice

with the Order allowing reinstatement of the civil action within 30 days for good cause shown

(see Local Rule in Western District, 41.3W) or (b) deferring hearing on Merck’s Motion to

Dismiss until October 31 or a date set by the Court soon thereafter.

                                                  -3-
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VII.     The Court Should Dismiss the Claims of All But Two of the Plaintiffs
         Represented By Jones Swanson.

                   The Jones Swanson plaintiffs ask the Court to defer dismissal of their clients’

cases on the ground that they have filed a motion to withdraw. Accordingly, Merck requests that

its motion to dismiss be deferred pending of the expiration of the time periods provided for under

PTO 36.

VIII. The Court Should Dismiss the Claims of the Plaintiffs
      Represented By the Kaiser Firm.

                   The Kaiser firm notes that plaintiffs Latreesh Wilson and Brian Sanders have filed

stipulations of dismissal with the Court. Merck’s counsel has signed those stipulations. Merck

does not oppose the request that the Court so-order the stipulations, but Merck respectfully

requests that the Court effect the dismissals on Friday either by so-ordering the stipulations or by

dismissing the cases as a result of this Rule.

                   The Kaiser firm opposes dismissal with respect to its final client (Janet Roderick)

on the ground that it has filed a motion to withdraw. Accordingly, Merck requests that its

motion to dismiss be deferred pending of the expiration of the time periods provided for under

PTO 36.

IX.      The Court Should Dismiss the Claims of the Plaintiffs
         Represented By the Law Offices of Lawrence P. Biondi.

                   The Law Offices of Lawrence P. Biondi request deferral of the dismissals until

October 30. Accordingly, Merck respectfully requests that the Court enter an Order either (a)

dismissing case without prejudice with the Order allowing reinstatement of the civil action

within 30 days for good cause shown (see Local Rule in Western District, 41.3W) or (b)

deferring hearing on Merck’s Motion to Dismiss until October 31 or a date set by the Court soon

thereafter.


                                                   -4-
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X.       Merck Withdraws Its Request As To Certain Plaintiffs.

                   Merck withdraws its request that the Court dismiss the claims of Diann Celestin

and Clarence Bannister (both in 05-CV-04319) because their counsel have withdrawn from

representing them. Merck agrees that the claims of these plaintiffs should be addressed through

the Curator.

                   Merck withdraws its request that the Court dismiss the claims of Jacqueline

Clark-Charles (one of the several plaintiffs in 2:05cv04435, filed before this Court’s order

prohibiting multi-plaintiff complaints) and Dianna Mae Williams (one of the several plaintiffs in

2:05cv05204, filed before this Court’s order prohibiting multi-plaintiff complaints) because their

counsel has represented to the Court that these plaintiffs have enrolled in the settlement program.

Merck notes that neither plaintiff has submitted a release to the Claims Administrator. However,

if these plaintiffs do not send in releases and all other required documents by the deadline, they

will not be part of the settlement program.

                   Likewise, Merck withdraws its motion as to Ezeldia Bateman Harding. Counsel

for Ms. Harding oppose dismissal on the ground that the claimant intends to enroll in the

settlement program. However, to date the claimant has not submitted a release to the Claims

Administrator. If the release and all other required documents are not submitted by the deadline,

they will not be part of the settlement program.




                                                  -5-
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                   Merck intends to supplement this reply prior to the hearing to reflect additional

requests by Carey & Danis and The Miller Firm, among others, that were submitted in response

to the original motion.



Dated: October 8, 2008                           Respectfully submitted,



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                                                   -6-
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                                          CERTIFICATE OF SERVICE

                   I hereby certify that the above and foregoing Reply has been served on Liaison

Counsel, Russ Herman and Phillip Wittmann, by U.S. Mail and e-mail or by hand delivery and e-

mail and upon all parties by electronically uploading the same to LexisNexis File & Serve

Advanced in accordance with Pre-Trial Order No. 8B and by certified mail or Federal Express,

and that the foregoing was electronically filed with the Clerk of Court of the United States

District Court for the Eastern District of Louisiana by using the CM/ECF system which will send

a Notice of Electronic Filing in accord with the procedures established in MDL 1657, on this 8th

day of October, 2008.


                                                         /s/ Dorothy H. Wimberly
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                                                   -7-
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